Case 5:17-cv-02514-JGB-SHK Document 192-8 Filed 09/27/19 Page 1 of 6 Page ID
                                 #:2062
Case 5:17-cv-02514-JGB-SHK Document 192-8 Filed 09/27/19 Page 2 of 6 Page ID
                                 #:2063
Case 5:17-cv-02514-JGB-SHK Document 192-8 Filed 09/27/19 Page 3 of 6 Page ID
                                 #:2064
 Case 5:17-cv-02514-JGB-SHK Document 192-8 Filed 09/27/19 Page 4 of 6 Page ID
                                  #:2065



 1                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 2
                               EASTERN DIVISION
 3
     RAUL NOVOA, et al.,
 4
                                                 Civil Action No. 5:17-cv-02514-JGB-
 5                       Plaintiffs,             SHKx
 6   v.
 7   THE GEO GROUP, INC.,
 8
                         Defendant.
 9

10
11              DECLARATION OF FERNANDO MUNOZ AGUILERA
12
           I, FERNANDO MUNOZ AGUILERA, declare as follows:
13

14         1.     I am more than eighteen years old; I am competent to testify on this matter,

15   and I make this testimony based on my personal knowledge.
16
           2.     I am a citizen of Mexico and have been in this country since 2002.
17
18         3.     I am a resident of El Monte, California.

19         4.     I arrived at the Adelanto Detention Center (the “Adelanto Facility”) as a
20
     civil immigrant detainee in January of 2019, and I remain detained.
21
           5.     Upon my entry at the Adelanto Facility, Defendant The GEO Group, Inc.
22
23   (“GEO”) issued to me a “Detainee Manual.”
24
           6.     Upon my review of the Detainee Manual, I understand that the detainees
25
     that disobey the guards or that refuse to clean can be punished for breaking the rules.
26


                                                1
      DECLARATION OF FERNANDO MUNOZ                                        5:17-cv-02514-JGB
      AGUILERA
 Case 5:17-cv-02514-JGB-SHK Document 192-8 Filed 09/27/19 Page 5 of 6 Page ID
                                  #:2066



 1          7.    I learned of the Work Program upon my arrival at the Adelanto Facility
 2
     and I asked to participate in the program.
 3
            8.    I have worked in the kitchen at the Adelanto Facility. In the kitchen, I
 4
 5   helped prepare food, I served food, and cleaned the kitchen. I worked approximately
 6   from 9:30 a.m. until 3 p.m., for seven days a week. I worked in the kitchen for
 7
     approximately one month. During my time in the kitchen, they paid me $1.00 a day for
 8
 9   my work.
10          9.    I also worked at a porter. I worked on a team cleaning windows, floors,
11
     toilets, showers and communal areas in the Adelanto Facility. I worked as a porter from
12
13   approximately January 2019 until June 2019. During all of this time they paid me

14   absolutely nothing. During this period, the GEO employees demanded that I worked
15
     for free.
16
17          10.   GEO supervised and controlled all aspects of my work. GEO gave me the

18   equipment and the tools that were necessary to complete my work. GEO required an
19
     application for my work in the kitchen. GEO also required that I sign various documents
20
     in English when I began to work in the kitchen.
21
22          11.   Due to my status as a detainee, GEO did not permit me to find
23
     employment from another employer outside of the walls of the Adelanto Facility.
24
25
26


                                                  2
      DECLARATION OF FERNANDO MUNOZ                                      5:17-cv-02514-JGB
      AGUILERA
 Case 5:17-cv-02514-JGB-SHK Document 192-8 Filed 09/27/19 Page 6 of 6 Page ID
                                  #:2067



 1         12.    Regardless of the hours that I worked in a day or a week, GEO paid me
 2
     only $1.00 a day, or nothing. I did not receive the minimum wage for the work that I did
 3
     in the Adelanto Facility for GEO.
 4
 5         13.    I participated in the Work Program in order to buy daily necessities that
 6   GEO did not provide. I depended on my wages in order to buy food and personal
 7
     hygiene products from the commissary. If I stopped working in the Work Program, I
 8
 9   wouldn’t have access to these necessities.
10         14.    Based on my knowledge, hundreds of detainees, if not more, participate in
11
     the Work Program. I think that other detainees also do similar work, such as laundry
12
13   work, barber work, and other types of cleaning and maintenance work. I don’t believe

14   that any detainee received more than $1.00 a day for participating in the Work Program.
15
           I declare under penalty of perjury under the laws of the United States of America
16
17   that the previous statements are true and correct and based on my personal knowledge.

18

19
           Executed in Adelanto, California on July 26, 2019.
20
21
22                                                    ___[Signature]__________
                                                      Fernando Munoz Aguilera
23
24
25
26


                                                  3
     DECLARATION OF FERNANDO MUNOZ                                       5:17-cv-02514-JGB
     AGUILERA
